                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                                 DANVILLE DIVISION

                           CRIMINAL MINUTES – JURY TRIAL
                                             Day 11

  Case No.: 4:18CR00000-001           Date: 10/30/2019


  Defendant: Marcus Jay Davis, custody                  Counsel: Tony Anderson, Melissa
                                                        Friedman, Bev Davis - CJA



  PRESENT:       JUDGE:                Michael F. Urbanski, CUSDJ
                 TIME IN COURT:        8:17-11:14; 11:36-1:03; 2:03-2:11; 2:37-4:28 6h 23m
                 Deputy Clerk:         Kristin Ayersman
                 Court Reporter:       JoRita Meyer
                 U. S. Attorney:       Ron Huber, Heather Carlton, Rachel Swartz
                 USPO:                 none
                 Case Agent:           Devin Taylor, FBI TFO
                 Interpreter:          none


                                      LIST OF WITNESSES

      GOVERNMENT                                        DEFENDANT
    1.   Jaquan Trent                              1.
    2.   Armonti Womack
    3.   Larry Davis
    4.   Malcolm Bowen, Danville PD

   5. Richard Wright, Danville PD
   6. Christopher Stone, Danville PD
   7. Nick Sapounakes, Danville Life Saving Crew
   8. Dr. Gayle Suzuki, Chief Medical Examiner
   9. John Davis
   10. Tevris Fitzgerald
   11. Justion Wilson
   12. Sherita Bowe-Staten
   13. Tameka Hairston


  PROCEEDINGS:




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         Government presents evidence. Mr. Jaquan Trent, sworn. Cautionary instruction given
         to jury. Recess 11:14 Reconvene 11:36. Jury returns 11:45. Cross of Mr. Trent.
         Witness not excused, subject to recall. Mr. Armonti Womack, sworn. No cross. Witness
         excused. Mr. Davis, sworn. No cross, witness excused. Officer Bowen, sworn. Cross.
         Witness excused. Investigator Wright, sworn. Limiting instruction given to jury. Cross.
         Redirect. Witness not excused, subject to recall. Recess 1:03 Reconvene 2:03 Recess
         2:11 Recdonvene 2:37 Jury returns 2:39. Officer Stone, sworn. No cross, witness
         excused. Mr. Sapounakes, sworn. No cross, witness excused. Dr. Suzuki, sworn.
         Defense stipulates Dr. Suzuki as expert. Redirect. Witness excused. John Davis, sworn.
         No cross, witness excused. Mr. Fitzgerald, sworn. No cross, witness excused. Justion
         Wilson, sworn. No cross, witness excused. Mr. Bowe-Staten, sworn. No cross, witness
         excused. Ms. Hairston, sworn. No cross, witness excused. Jury excused for the day, to
         return at 9am 10/31/19. Jury released 4:19. Adjourn 4:28
         Defendant renews Motion for Judgment of Acquittal.
         Court      grants   denies    takes under advisement.
         Defendant remanded to custody.

  Additional Information:
  Court addresses parties re case testimony recently provided, Det. Pace case. US responds, noting
  five tapes, stating nothing in them related to instant case. Dft counsel Mr. Anderson responds,
  renews motion. Mr. Davis responds. Court needs Pace police report – US has on thumb drive.
  Court addresses parties, and may require briefing. US would like to brief. Court asks for briefing
  and asks counsel to decide on a briefing schedule. Jury returns 9:12. Court addresses jurors re
  trial schedule.




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